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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     GREGORY FRANKLIN,                                 Case No. 18-cv-03333-SI
                                   8                    Plaintiff,
                                                                                           ORDER DIRECTING RESPONSE TO
                                   9             v.                                        LETTERS REGARDING
                                                                                           SETTLEMENT WEBSITE
                                  10     OCWEN LOAN SERVICING, LLC,
                                                                                           Re: Dkt. Nos. 160, 161
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The Court has received two letters, Dkt. Nos. 160 and 161, from individuals who state that

                                  14   they have been unable to locate the settlement website to obtain information about the proposed

                                  15   class action settlement.

                                  16          The Court directs the parties to file a response addressing the issues raised by those letters

                                  17   no later than July 15, 2022.

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                                  19          IT IS SO ORDERED.

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                                  21   Dated: July 8, 2022                          ______________________________________
                                                                                      SUSAN ILLSTON
                                  22                                                  United States District Judge
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